                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:08-CR-00134-RJC
USA                                              )
                                                 )
   v.                                            )                 ORDER
                                                 )
ALEJANDRO UMANA                                  )
                                                 )
                                                 )

        THIS MATTER is before the Court on the defendant’s Motion for Relief Necessary to

Obtain Complete Record on Appeal, (Doc. No. 1530), and the government’s Response, (Doc.

No. 1532).

        The record of this case is extensive, with the printed docket covering 219 pages detailing

1531 entries. In the motion, the defendant requests copies of over 400 documents without any

particularized showing of need. Difficulty in accessing the CM/ECF system out-of-district and

the sealed and/or ex parte nature of many documents have hampered counsel’s ability to

determine whether information material to the appeal is yet not available to the defendant and

has hindered the government’s ability to formulate a response to the request for particular

documents.

        The Court has considered the motion and the record of this case, including each of the

documents requested in the motion, and makes the following findings:

        1.     the defendant is entitled to documents directly related to him, with the exception

of Doc. No. 1149 (Presentence Report Recommendation); therefore, copies of Doc. Nos. 106,

107, 134, 188, 309, 474, 502, and 1043 will be provided to the defendant and the government

with this Order under seal; copies of Doc. Nos. 237, 520, 719, 720, 721, 722, 1058, and 1142,

which were filed ex parte for the benefit of the defendant will be provided to the defendant only.




   Case 3:08-cr-00134-RJC-SCR            Document 1534         Filed 06/06/13     Page 1 of 3
          2.    no event or document is associated with Doc. No. 1032;

          3.    the defendant has an interest in determining whether other document entries

contain information material to his appeal which can be met by disclosure of the attached

complete docket sheet under seal showing the date of each filing, the affected party, and a brief

description of the event or pleading; disclosure of this limited information will not prejudice any

other party and is not opposed by the government; and

          4.    information in the following docket entries is supplemented to enable the

defendant and the government to determine whether any contain information material to the

appeal:

                a.     Doc. No. 622 is the government’s motion to dismiss the Third

Superseding Indictment as to defendants who had already entered guilty pleas to earlier versions

of the indictment;

                b.     Doc. No. 726 is the government’s motion to unseal certain plea

agreements for the limited purpose of complying with discovery obligations;

                c.     Doc. No. 841 is Mario Melgar-Diaz’s objections to his presentence report;

                d.     Doc. No. 1338 relates to Juan Ruben Vela Garcia’s sealed Judgment and

Commitment Order.

          IT IS, THEREFORE, ORDERED that the defendant’s Motion for Relief Necessary to

Obtain Complete Record on Appeal, (Doc. No. 1530), is GRANTED in part and DENIED in

part, without prejudice to request additional documents with a particularized showing of need

and the government’s opportunity to object or request protective measures. Each document

detailed above to be provided to counsel for the defendant and the government is under seal,

pending further order of the Court.



                                                 2

   Case 3:08-cr-00134-RJC-SCR            Document 1534         Filed 06/06/13      Page 2 of 3
         IT IS FURTHER ORDERED, given the defendant’s threats and intimidation of

witnesses against him, that counsel may not disclose to the defendant any information provided

in response to the motion relating to co-defendants or witnesses, pending further order of the

Court.

                                               Signed: June 6, 2013




                                                3

   Case 3:08-cr-00134-RJC-SCR            Document 1534            Filed 06/06/13   Page 3 of 3
